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        Granite v. Alberta - Summary of Hours, Fees, and Rates for Core Team
                                     Discounted    Escrow          Fees for Escrow
         Month      Timekeeper       Rate (15%)*    Hours              Claims
          Mar-09
                     Paul Trahan    $     459.00        2.50 $              1,147.50
          Apr-09
                     Jeff Dykes     $     552.50        4.40   $            2,431.00
                     Jane Smith     $     480.25        7.20   $            3,457.80
                    Paul Trahan     $     433.50       19.55   $            8,474.93
                    Bryan Patrick   $     301.75        6.20   $            1,870.85
                     Ben Vetter     $     289.00        1.30   $              375.70
          May-09
                     Jeff Dykes     $     552.50        1.00   $              552.50
                     Jane Smith     $     480.25        2.70   $            1,296.68
                    Paul Trahan     $     433.50        4.65   $            2,015.78
                    Bryan Patrick   $     301.75        4.50   $            1,357.88
                     Ben Vetter     $     289.00        3.50   $            1,011.50
          Jun-09
                     Jeff Dykes     $     552.50        3.00   $            1,657.50
                     Jane Smith     $     480.25        0.70   $              336.18
                    Paul Trahan     $     433.50        7.85   $            3,402.98
                    Bryan Patrick   $     301.75        2.30   $              694.03
                     Ben Vetter     $     289.00        5.10   $            1,473.90
           Jul-09
                     Jeff Dykes     $     552.50        2.30   $            1,270.75
                     Jane Smith     $     480.25        1.60   $              768.40
                    Paul Trahan     $     433.50        7.70   $            3,337.95
                    Bryan Patrick   $     301.75        2.85   $              859.99
                     Ben Vetter     $     289.00        5.20   $            1,502.80
          Aug-09
                     Jeff Dykes     $     552.50        0.50   $             276.25
                     Jane Smith     $     480.25        0.00   $                -
                    Paul Trahan     $     433.50        0.60   $             260.10
                    Bryan Patrick   $     301.75        0.00   $                -
                     Ben Vetter     $     289.00        1.50   $             433.50
          Sep-09
                     Jeff Dykes     $     552.50        0.20   $              110.50
                     Jane Smith     $     480.25        0.60   $              288.15
                    Paul Trahan     $     433.50        9.90   $            4,291.65
                    Bryan Patrick   $     301.75        5.50   $            1,659.63
                     Ben Vetter     $     289.00        0.00   $                 -
          Oct-09
                     Jeff Dykes     $     552.50        0.00   $                 -
                     Jane Smith     $     480.25        0.50   $              240.13
                    Paul Trahan     $     433.50        0.00   $                 -
                    Bryan Patrick   $     301.75        0.00   $                 -
                     Ben Vetter     $     289.00        5.20   $            1,502.80
          Nov-09
                    Bryan Patrick   $     301.75        0.60 $                181.05
          Dec-09                                             $                   -
                     Jeff Dykes     $     552.50        3.30 $              1,823.25
                     Jane Smith     $     480.25        4.70 $              2,257.18
                    Paul Trahan     $     433.50       17.90 $              7,759.65
                    Bryan Patrick   $     301.75       38.00 $             11,466.50
                     Ben Vetter     $     289.00       20.60 $              5,953.40
          Jan-10
                     Jeff Dykes     $     552.50        9.40 $              5,193.50
                     Jane Smith     $     505.75       21.00 $             10,620.75
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                                    Discounted     Escrow          Fees for Escrow
         Month      Timekeeper      Rate (15%)*     Hours              Claims
                    Paul Trahan     $     454.75       84.00 $             38,199.00
                    Bryan Patrick   $     318.75      105.40 $             33,596.25
                     Ben Vetter     $     301.75       14.45 $              4,360.29
          Feb-10
                     Jeff Dykes     $     552.50        0.00   $                 -
                     Jane Smith     $     505.75       19.60   $            9,912.70
                    Paul Trahan     $     454.75        5.50   $            2,501.13
                    Bryan Patrick   $     318.75       86.20   $           27,476.25
                     Ben Vetter     $     301.75        0.30   $               90.53
          Mar-10
                     Jeff Dykes     $     552.50       14.70   $            8,121.75
                     Jane Smith     $     505.75        4.20   $            2,124.15
                    Paul Trahan     $     454.75        3.55   $            1,614.36
                    Bryan Patrick   $     301.75       36.20   $           10,923.35
                     Ben Vetter     $     301.75        0.30   $               90.53
          Apr-10
                     Jane Smith     $     505.75       39.65 $             20,052.99
                    Paul Trahan     $     454.75       57.70 $             26,239.08
                    Bryan Patrick   $     318.75       19.50 $              6,215.63
          May-10
                     Jane Smith     $     505.75        2.90 $              1,466.68
                    Paul Trahan     $     454.75        1.00 $                454.75
                    Bryan Patrick   $     318.75        1.80 $                573.75
          Jun-10
                     Jeff Dykes     $     552.50        4.50   $            2,486.25
                     Jane Smith     $     505.75        0.40   $              202.30
                    Paul Trahan     $     454.75        2.95   $            1,341.51
                    Bryan Patrick   $     318.75        1.45   $              462.19
                     Ben Vetter     $     301.75        4.60   $            1,388.05
           Jul-10
                     Jeff Dykes     $     552.50        4.65   $            2,569.13
                     Jane Smith     $     505.75       13.60   $            6,878.20
                    Paul Trahan     $     454.75       13.10   $            5,957.23
                    Bryan Patrick   $     318.75       33.00   $           10,518.75
                     Ben Vetter     $     301.75        5.60   $            1,689.80
          Aug-10
                    Bryan Patrick   $     318.75        0.20 $                63.75
          Sep-10
                     Jane Smith     $     505.75        1.40 $                708.05
                    Paul Trahan     $     454.75       10.60 $              4,820.35
                    Bryan Patrick   $     318.75        0.40 $                127.50
          Oct-10
                     Jeff Dykes     $     552.50        0.50   $              276.25
                     Jane Smith     $     505.75        0.00   $                 -
                    Paul Trahan     $     454.75        0.80   $              363.80
                    Bryan Patrick   $     318.75        5.60   $            1,785.00
          Nov-10
                     Jane Smith     $     505.75        1.50   $              758.63
                    Paul Trahan     $     454.75        9.00   $            4,092.75
                    Bryan Patrick   $     318.75        0.10   $               31.88
                     Ben Vetter     $     301.75        0.30   $               90.53
          Dec-10
                     Jeff Dykes     $     552.50        4.30   $            2,375.75
                     Jane Smith     $     505.75        0.70   $              354.03
                    Paul Trahan     $     454.75        6.10   $            2,773.98
                    Bryan Patrick   $     318.75        1.20   $              382.50
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                                           Discounted    Escrow          Fees for Escrow
         Month         Timekeeper          Rate (15%)*    Hours              Claims
                        Ben Vetter         $    301.75        1.20 $               362.10
          Jan-11
                        Jeff Dykes         $    552.50       11.60   $            6,409.00
                        Jane Smith         $    531.25        0.80   $              425.00
                       Paul Trahan         $    488.75        5.60   $            2,737.00
                       Bryan Patrick       $    348.50        6.10   $            2,125.85
                        Ben Vetter         $    306.00        1.00   $              306.00
                       Lucy Arnold         $    212.50       17.00   $            3,612.50
          Feb-11
                        Jeff Dykes         $    552.50       47.90   $           26,464.75
                        Jane Smith         $    531.25        9.20   $            4,887.50
                       Paul Trahan         $    488.75       96.70   $           47,262.13
                       Bryan Patrick       $    348.50        9.10   $            3,171.35
                       Lucy Arnold         $    212.50       49.20   $           10,455.00
          Mar-11
                        Jeff Dykes         $    552.50        0.50 $               276.25
                       Paul Trahan         $    488.75        0.30 $               146.63
                       Bryan Patrick       $    348.50        0.30 $               104.55
          Apr-11
                        Jeff Dykes         $    552.50        1.60   $              884.00
                       Paul Trahan         $    488.75       18.10   $            8,846.38
                       Bryan Patrick       $    348.50        3.10   $            1,080.35
                       Lucy Arnold         $    212.50        9.00   $            1,912.50
          May-11
                        Jeff Dykes         $    552.50        0.50   $              276.25
                       Paul Trahan         $    488.75        1.50   $              733.13
                       Bryan Patrick       $    348.50        5.90   $            2,056.15
                       Lucy Arnold         $    212.50        0.50   $              106.25


                                           TOTALS        1156.30 $          464,766.40

                   *NB: The discount in
                   March 2009 is of 10%,
                         not 15%.          Average Rate              $           401.94
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                                                  Rate
           Month         Timekeeper             Charged      Hours          Fees

             Feb-10
                        Jennifer Sherrill   $     403.75        24.80   $   10,013.00
                        Tamsen Barrett      $     267.75         0.70   $      187.43
                           Holly Kipp       $     229.50         0.50   $      114.75
                        Todd Hambidge       $     289.00         0.70   $      202.30
                      S.A. Hayden Briggle   $     216.75         0.50   $      108.38
                          Jerod Neas        $     216.75         0.50   $      108.38
                         Chris Weimer       $     195.50         0.60   $      117.30
                         Tracy Stewart      $     195.50         0.60   $      117.30
                        Leaf McGregor       $     182.75         0.80   $      146.20

                      Paralegal Personnel
                          Paula Miller      $     140.25         2.00 $        280.50
                        Mary Murchison      $     119.00         0.20 $         23.80

             Mar-10
                        Jennifer Sherrill   $     403.75       102.80   $   41,505.50
                        Tamsen Barrett      $     267.75        39.60   $   10,602.90
                           Holly Kipp       $     229.50        58.90   $   13,517.55
                        Todd Hambidge       $     289.00        19.30   $    5,577.70
                      S.A. Hayden Briggle   $     216.75       123.00   $   26,660.25
                          Jerod Neas        $     216.75       111.30   $   24,124.28
                         Chris Weimer       $     195.50        35.20   $    6,881.60
                         Tracy Stewart      $     195.50        27.50   $    5,376.25
                        Leaf McGregor       $     182.75        13.50   $    2,467.13
                      Travis Siebeneicher   $     297.50        59.50   $   17,701.25

                                          TOTALS              622.50 $ 165,833.73
                                      50% Discount            311.25 $ 82,916.86

                                                           Avg Rate     $     266.40
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